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                   IN THE UNITED STATES DISTRICT COURT
                  FOR THE WESTERN DISTRICT OF WISCONSIN


NATIONAL WILDLIFE REFUGE ASSOCIATION,
et al.,
               Plaintiffs,
          v.                                        Case No. 3:21-cv-00096-wmc
                                                     (lead)
RURAL UTILITIES SERVICE, et al.,

                  Federal Defendants,

AMERICAN TRANSMISSION COMPANY, LLC,
et al.,
              Intervenor-Defendants.


NATIONAL WILDLIFE REFUGE ASSOCIATION,
et al.,
               Plaintiffs,
          v.                                         Case No. 3:21-cv-00306-wmc
                                                      (consol.)
U.S. ARMY CORPS OF ENGINEERS, et al.,

                  Federal Defendants,

AMERICAN TRANSMISSION COMPANY, LLC,
et al.,
              Intervenor-Defendants.


     FEDERAL DEFENDANTS’ BRIEF ON CONTENTS OF FINAL JUDGMENT
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                                   I.       INTRODUCTION

       Before the Court is the question of what, if any, additional relief Plaintiffs are entitled to

beyond the declaratory relief already issued in this challenge under the APA. See January 14,

2022 Op. & Order, ECF No. 175. This Court concluded on summary judgment that RUS’s EIS

contained an inadequate statement of purpose and need and that FWS’s withdrawn Compatibility

Determination and the Utilities’ request for a land exchange, which FWS was still considering as

of issuance of the Court’s order, would be unlawful. The Court granted summary judgment for

the U.S. Army Corps of Engineers on Plaintiffs’ claims that certain nationwide and general

permit authorizations are unlawful.1

       As to Plaintiffs’ claim against RUS, the Court should vacate and remand RUS’s record of

decision to the agency. The Court should not issue an injunction because vacating and remanding

will have the same effect as an injunction, making the extraordinary remedy of injunctive relief

unnecessary, as directed by the Supreme Court in Monsanto Co. v. Geertson Seed Farms, 561

U.S. 139, 165-66 (2010). Moreover, Plaintiffs have not made a showing of irreparable harm—an

essential element for permanent injunctive relief—resulting from RUS’s record of decision.

Indeed, RUS’s record of decision has no practical impact, because the financing decision it



1
  Accordingly, this brief does not address the claims against the Corps and Plaintiffs are thus not
entitled to any relief with respect to any Corps agency action. The Court’s previous preliminary
injunction against activities under the Utility Regional General Permit may have terminated by
its own terms. That order stated that such activities were enjoined “until the issuance of an
opinion and order on summary judgment.” Nov. 1, 2021 Op. & Order, ECF No. 160 at 21. For
the sake of clarity, however, Federal Defendants request this Court separately vacate that
preliminary injunction order. Given its ruling, the Court should also issue final judgment in favor
of the Corps dismissing with prejudice all counts in Plaintiffs’ Complaint in Case No. 3:21-cv-
00306. To the extent Plaintiffs request any relief as to the Corps, anything other than dismissal
with prejudice would be contrary to this Court’s conclusion in its summary judgment opinion
that the Utility Regional General Permit “is, in fact, compliant with the requirements of NEPA”
and that Plaintiffs’ argument as to nationwide permit 12 “has been discredited by the Fourth,
Tenth, and D.C. Circuits.” Jan. 14, 2022 Op. & Order, ECF No. 175 at 41, 44.
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examines will only occur after the transmission line is built. Vacatur and remand is thus

sufficient.

        As to FWS’s decisions concerning the Upper Mississippi Wildlife Refuge, Plaintiffs are

entitled to no additional relief beyond the declaratory relief already issued. The Compatibility

Determination this Court found unlawful has already been revoked. As for the potential, future

land exchange FWS was considering at the time of the Court’s order and opinion, declaratory

relief is sufficient to ensure the agency proceeds consistent with the Court’s opinion. Federal

agencies are presumed to follow the law, including this Court’s opinion and order. And this

Court lacks jurisdiction to issue any additional relief as to the Utilities’ request for a land

exchange.

        In sum, this Court should (1) vacate and remand RUS’s record of decision; and (2) grant

no further relief beyond the declaratory relief already issued relating to FWS’s management of

the Refuge.2

                                      II.       ARGUMENT

        Upon concluding that an agency action is arbitrary or capricious under the APA, 5 U.S.C.

§§ 701-706, a court has discretion to craft the appropriate remedy. The Supreme Court has made

clear that in crafting that remedy, however, a court may not “substitute its judgment for that of

the agency” by dictating the manner of an agency’s compliance with its legal ruling. Citizens to

Pres. Overton Park, Inc. v. Volpe, 401 U.S. 402, 416 (1971), abrogated on other grounds by

Califano v. Sanders, 430 U.S. 99 (1977). Instead, “the function of the reviewing court ends when

an error of law is laid bare.” Fed. Power Comm’n v. Idaho Power Co., 344 U.S. 17, 20 (1952);



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  Federal Defendants do not intend this submission as a concession that relief is appropriate in
the first instance, and preserve their right to appeal from any aspect of the Court’s opinion and
order and final judgment.
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see also INS v. Orlando Ventura, 537 U.S. 12, 16 (2002) (“the proper course, except in rare

circumstances, is to remand to the agency for additional investigation or explanation”) (quoting

Fla. Power & Light Co. v. Lorion, 470 U.S. 729, 744 (1985)). Applied to NEPA cases, this

usually means that “the appropriate remedy is to remand the case to the agency to correct the

deficiencies in the record and in its analysis.” Nat’l Audubon Soc’y v. Hoffman, 132 F.3d 7, 18

(2d Cir. 1997).

A.     Vacatur and remand of RUS’s record of decision will provide full redress for
       Plaintiffs’ NEPA claim against RUS.

       The Court concluded that RUS’s EIS was arbitrary and capricious because its statement

of purpose and need was unduly restrictive. Jan. 14, 2022 Op. & Order, ECF No. 175 at 35-41.

Vacating and remanding RUS’s record of decision, which concluded RUS’s environmental

review in connection with its evaluation of Dairyland Power’s application for financing, will

provide Plaintiffs with complete relief.

       Under the APA, courts “hold unlawful and set aside agency action” that is found arbitrary

and capricious. 5 U.S.C. § 706(2)(A). As such, “[v]acatur of agency action is a common” form of

relief in APA cases. WildEarth Guardians v. U.S. Bureau of Land Mgmt., 870 F.3d 1222, 1239

(10th Cir. 2017). As a form of equitable relief, vacatur is discretionary, and need not issue in

every case. See Standing Rock Sioux Tribe v. U.S. Army Corps of Eng’rs, 985 F.3d 1032, 1053

(D.C. Cir. 2021) (upholding district court’s exercise of discretion in vacating easement based on

insufficiencies in underlying NEPA review), pet. for cert. docketed sub nom. Dakota Access,

LLC v. Standing Rock Sioux Tribe, No. 21-560 (U.S. Oct. 18, 2021). By the same token, where

vacatur is warranted, it must be narrowly tailored to “be no more burdensome to the defendant

than necessary to provide complete relief to the plaintiffs.” Califano v. Yamasaki, 442 U.S. 682,




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702 (1979); see Lemon v. Kurtzman, 411 U.S. 192, 200 (1973) (“[E]quitable remedies are a

special blend of what is necessary, what is fair, and what is workable.” (footnote omitted)).

       1.      This Court has discretion to vacate RUS’s record of decision, not the EIS itself.

       Should the Court exercise its discretion to vacate, that relief must be targeted at the final

agency action at issue—RUS’s record of decision. Importantly, Plaintiffs’ complaint requests

vacatur of the record of decision, not the EIS. See Compl., ECF No. 1 at 37 (Prayer for Relief ¶

3). As such, that relief should be deemed sufficient. Indeed, vacatur of the record of decision

means vacating RUS’s finding in that final decision document that NEPA review is complete.

See ROD007650 (noting that the “ROD is not an approval of the expenditure of Federal funds,”

but “concludes the agency’s environmental review process in accordance with NEPA and RUS’s

Environmental Policies and Procedures”). Vacatur of the record of decision and remand to the

agency for further consideration consistent with this Court’s opinion is thus sufficient to fully

remedy the violation this Court found.

       Moreover, the record of decision—not the EIS—is the final agency action subject to

judicial review here. Under the APA, judicial review is limited to “final agency action.” 5 U.S.C.

§ 704. “An agency action is ‘final’ [only] when (1) the agency reaches the ‘consummation’ of its

decisionmaking process and (2) the action determines the ‘rights and obligations’ of the parties

or is one from which ‘legal consequences will flow.’” Rattlesnake Coal. v. EPA, 509 F.3d 1095,

1103 (9th Cir. 2007) (quoting Bennett v. Spear, 520 U.S. 154, 177-78 (1997)). In the context of

NEPA, the consummation of the agency’s decision-making process—and thus the final agency

action subject to review under the APA—is issuance of a record of decision selecting one of the

courses of action analyzed in the EIS. See, e.g., Or. Nat. Desert Ass’n v. BLM, 625 F.3d 1092,

1118 (9th Cir. 2010) (“Once an EIS’s analysis has been solidified in a ROD, an agency has taken

final agency action.”); 40 C.F.R. § 1505.2(a) (2018) (The ROD “[s]tates what the decision
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was.”).3 The EIS itself does not authorize any particular action and is not subject to judicial

review until a record of decision has been issued. Sierra Club v. U.S. Dep’t of Energy, 825 F.

Supp. 2d 142, 156-57 (D.D.C. 2011) (dismissing challenge to an EIS alone as premature).

        For these reasons, the Court has discretion to vacate RUS’s record of decision, but not the

EIS itself.

        2.     Injunctive relief against RUS is unnecessary and improper.

        Plaintiffs’ complaint asks that this Court “[e]njoin . . . RUS from providing any financial

assistance, permits, or easements for the proposed CHC transmission line unless and until a final

EIS is prepared and approved that fully complies with all NEPA requirements.”4 Compl., ECF

No. 1 at 37 (Prayer for Relief ¶ 6). Such relief is both inappropriate and unnecessary.

        Injunctions in APA cases are inappropriate where they “do[] not have any meaningful

practical effect independent of [the district court’s] vacatur.” Monsanto, 561 U.S. at 165-66.

Where vacatur of the decision is “sufficient to redress [plaintiffs’] injury, no recourse to the

additional and extraordinary relief of an injunction [is] warranted.” Id. The Eastern District of

Wisconsin has applied this principle in denying a request for injunctive relief in a NEPA case.

1000 Friends of Wisconsin, Inc. v. U.S. Dep’t of Transp., No. 11-C-0545, 2015 WL 2454271, at

*12-13 (E.D. Wis. May 22, 2015).

        Here, vacatur would mean that there is no longer a finalized NEPA process. Vacatur thus

accomplishes everything that enjoining financing “unless and until” the agency “fully complies

with all NEPA requirements” would. Compl., ECF No. 1 at 37 (Prayer for Relief ¶ 6). Indeed,



3
  The 2018 version of CEQ’s NEPA regulations, applicable in this case, are attached as Exhibit 1
to Federal Defendants’ Brief in Opposition to Plaintiffs’ Motion for Summary Judgment. ECF
No. 115-1
4
  The Complaint’s request to enjoin “permits . . . or easements” is inapposite since no RUS
permit or easement is before the Court.
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RUS regulations require that “[t]he environmental review process must be concluded before the

obligation of funds.” 7 C.F.R. § 1970.11(b). And RUS is entitled to the presumption that it will

comply with this Court’s order and its own regulations on remand. See, e.g., Sierra Club v.

Penfold, 857 F.2d 1307, 1319 (9th Cir. 1988) (noting that courts cannot assume that because

NEPA compliance was deficient in the past, the agency will not comply with NEPA in the

future); see also Croman Corp. v. United States, 724 F.3d 1357, 1364 (Fed. Cir. 2013) (“The

presumption that government officials act in good faith is enshrined in our jurisprudence.”

(citation omitted)). Vacatur and remand will thus fully remedy the defect this Court identified in

the EIS’s statement of purpose and need, making an injunction against RUS unnecessary.

       Plaintiffs must also satisfy “the traditional four-factor test” for granting permanent

injunctive relief. Monsanto, 561 U.S. at 157-58 (rejecting lower standard for NEPA cases

because “[n]o such thumb on the scales in warranted”). Plaintiffs cannot demonstrate at least one

essential element for injunctive relief with respect to their NEPA claim against RUS: irreparable

harm.5 In general, any harm must be “directly traceable to the” agency action challenged.

MediNatura, Inc. v. Food & Drug Admin., 998 F.3d 931, 945 (D.C. Cir. 2021); see also Neb.

Dep’t of Health & Hum. Servs. v. Dep’t of Health & Hum. Servs., 435 F.3d 326, 330 (D.C. Cir.




5
  Should the Court reach beyond the record of decision to issue relief pertaining directly to any
future financing decision, such an injunction would also implicate the public interest in favor of
RUS’s financing mission, further militating against injunctive relief. See Decl. of Christopher A.
McLean, ECF No. 119-1 (declaration of Acting Administrator for Electric Programs). Notably,
such a broad injunction is beyond this Court’s authority. See Fed. Power Comm’n, 344 U.S. at
20 (“the function of the reviewing court ends when an error of law is laid bare. At that point the
matter once more goes to the [agency] for reconsideration.” (citation omitted)); N. C. Fisheries
Ass'n, Inc. v. Gutierrez, 550 F.3d 16, 20 (D.C. Cir. 2008) (same); Glob. Van Lines, Inc. v. I.C.C.,
804 F.2d 1293, 1305 n.95 (D.C. Cir. 1986) (“[W]hen an agency committing an error of law has
discretion to determine in the first instance how it should be rectified, the proper course is to
remand the case for further agency consideration in harmony with the court’s holding.”).


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2006) (holding plaintiff not entitled to relief with respect to a final agency action not challenged

in the case, citing principle that “an injunction must be narrowly tailored to remedy the specific

harm shown” (alteration in original) (citation omitted)). RUS’s financing decision will occur—if

at all—only after construction of the entire transmission line is complete. Thus, by definition,

RUS’s financing decision—for which it prepared the EIS and issued the record of decision—

cannot be the source of any irreparable harm.6 See MediNatura, Inc., 998 F.3d at 945 (no

irreparable harm where plaintiff “did not demonstrate that any harm it is suffering is directly

traceable to the” agency action it challenges); Neb. Dep’t of Health & Hum. Servs., 435 F.3d at

330 (holding plaintiff not entitled to relief with respect to a final agency action not challenged in

the case, citing principle that “an injunction must be narrowly tailored to remedy the specific

harm shown” (alteration in original) (citation omitted)). Any request for an injunction as to RUS

or its EIS fails for this additional reason.

        Separately, Federal Defendants understand from discussions with Plaintiffs’ counsel that

Plaintiffs intend to seek an injunction of Intervenors’ construction of the entire transmission line,

whether authorized by federal permit or not. It is unclear what legal basis such an injunction

would have in an APA case challenging federal agency actions. Irreparable harm justifying an

injunction must be “directly traceable to” the agency actions at issue in the case, MediNatura,




6
  The showing required for irreparable harm is distinct from that required for standing, and thus
this Court’s conclusion that Plaintiffs established causation for purposes of standing does not
signify they have also met the heightened showing required to show that “the alleged harm will
directly result from the action which the movant seeks to enjoin.” Wis. Gas Co. v. FERC, 758
F.2d 669, 674 (D.C. Cir. 1985) (per curiam) (emphasis added). By contrast, to demonstrate
standing, a plaintiff need only show alleged harms are fairly traceable. Op. & Order, ECF No.
175 at 22. And, at the remedy stage, a court examines each type of relief separately. The Court’s
conclusion that Plaintiffs demonstrated causation sufficient for standing purposes because
“overturning the specific permits at issue would ameliorate at least some of plaintiffs’ injuries,”
id. at 23, thus does not mean Plaintiffs have shown irreparable harm.
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Inc., 998 F.3d at 945, yet the vast majority of Intervenors’ construction work does not require

federal authorization. In any event, because any injunction of construction would run against

Intervenors rather than Federal Defendants, this brief will not address the propriety of that

request.

        For the foregoing reasons, vacatur and remand of RUS’s record of decision will provide

Plaintiffs complete relief on their claim that RUS violated NEPA.

B.      Declaratory relief is sufficient as to Plaintiffs’ claim concerning the Refuge.

        As discussed, the ordinary remedy in APA cases is vacatur and remand. However, the

Compatibility Determination that Plaintiffs challenge in this lawsuit has been withdrawn and any

future land exchange not yet finalized, as this Court’s opinion and order recognizes. See Op. &

Order, ECF No. 175 at 4-5. Thus, with respect to the Court’s conclusion that “the compatibility

determination precludes the [CHC] transmission line from crossing the refuge by right of way or

land transfer,” id. at 44, there is no final agency action in place for the Court to vacate. Likewise,

there is nothing to enjoin should Plaintiffs seek the extraordinary remedy of an injunction against

FWS.

        Declaratory judgment will afford Plaintiffs complete relief on their Refuge Act claim. “A

declaratory judgment cannot be enforced by contempt proceedings, but it has the same effect as

an injunction in fixing the parties’ legal entitlements.” Badger Cath., Inc. v. Walsh, 620 F.3d

775, 782 (7th Cir. 2010). Indeed, the Seventh Circuit has encouraged the use of declaratory

judgments as a means of avoiding unnecessary “entry of a regulatory injunction.” Id. (“If the

entry of a regulatory injunction can be avoided by a simpler declaratory judgment, everyone

comes out ahead.”); cf. Monsanto, 561 U.S. at 165-66 (“If a less drastic remedy . . . was

sufficient to redress respondents’ injury, no recourse to the additional and extraordinary relief of

an injunction was warranted.”). FWS is presumed to follow the law, including the Court’s
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declaratory judgment. Sierra Club, 857 F.2d at 1319. Declaratory relief thus constitutes a

complete remedy for Plaintiffs on their Refuge Act claim.

       Finally, remedies beyond declaratory relief, including remand, vacatur, and injunctive

relief, are outside this Court’s jurisdiction with respect to Plaintiffs’ Refuge Act claim for two

reasons. First, there is no final agency action under the APA. Though the Court determined that

the putative land exchange under consideration at the time of the Court’s ruling was ripe, the

doctrine of ripeness and finality are distinct legal issues.7 Mountain States Tel. & Tel. Co. v.

FCC, 939 F.2d 1021, 1028 (D.C. Cir. 1991). The APA authorizes setting aside as unlawful only

“final agency action,” not “preliminary, procedural, or intermediate agency action.” 5 U.S.C. §§

704, 706(2); Bennett, 520 U.S. at 178 (APA prohibits challenges to decisions that are “merely

tentative or interlocutory in nature” rather than the “‘consummation’ of the agency’s

decisionmaking process”). The requirement of finality “exists to protect agencies from undue

judicial interference with their lawful discretion.” Norton v. S. Utah Wilderness All., 542 U.S. 55,

66 (2004). Because there is no final agency action before the Court with respect to Plaintiffs’

Refuge Act claim, there is no agency action to vacate, remand, or enjoin.

       Second, in APA cases, “the function of the reviewing court ends when an error of law is

laid bare.” Fed. Power Comm’n, 344 U.S. at 20. A court is not to “substitute its judgment for that

of the agency” by dictating how that agency should comply with the law in the future. Citizens to

Pres. Overton Park, Inc., 401 U.S. at 416. Courts routinely caution against overly prescriptive

remedies in APA cases for this reason. See Palisades Gen. Hosp. Inc. v. Leavitt, 426 F.3d 400,

403 (D.C. Cir. 2005) (“The district court had no jurisdiction to order specific relief.”); Bennett v.



7
  While Federal Defendants do not concede the Court’s conclusion that it had jurisdiction to
issue declaratory relief as to the compatibly requirements of the Refuge Act, even assuming that
holding is correct, additional relief is outside the Court’s jurisdiction.
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Donovan, 703 F.3d 582, 589 (D.C. Cir. 2013) (“We do not hold, of course, that HUD is required

to take this precise series of steps, nor do we suggest that the district court should issue an

injunction to that effect.” (emphasis omitted)); Cty. of Los Angeles v. Shalala, 192 F.3d 1005,

1011 (D.C. Cir. 1999) (“Not only was it unnecessary for the court to retain jurisdiction to devise

a specific remedy for the Secretary to follow, but it was error to do so.”).

       Indeed, in Monsanto, the Supreme Court held the district court exceeded its authority

when it vacated both the agency decision before it to completely deregulate a specific crop and

additionally “barred the agency from pursuing any deregulation” regardless of the particulars of

any future agency action. 561 U.S. at 160-61. Such a broad and prospective injunction was

impermissible under the APA because plaintiffs “brought suit under the [APA] to challenge a

particular agency order,” not some future order that would become subject to challenge only

once it was finalized. Id. at 159-61 (“When the District Court entered its permanent injunction,

APHIS had not yet exercised its authority to partially deregulate RRA. Until APHIS actually

seeks to effect a partial deregulation, any judicial review of such a decision is premature.”). So

too here. Any additional relief with respect to the Refuge is thus impermissible.

                                    III.      CONCLUSION

       This Court’s conclusion that RUS’s EIS relied on an impermissibly narrow statement of

purpose and need will be fully remedied by vacatur and remand of the record of decision,

precluding further relief. With respect to FWS, declaratory relief restating the judgment in the

opinion and order is sufficient. The unique limitations on judicial review under the APA preclude

additional relief, and no more is required to provide a complete remedy.

       Federal Defendants attach proposed language for a final judgment. Federal Defendants

read the Court’s order and opinion as indicating an intention to carry forward its declaratory

relief regarding the Refuge into any final judgment. Thus, Federal Defendants’ proposed final
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judgment has carried that relief forward verbatim (with the exception of what Federal

Defendants believe to be a typographical error in that order regarding the spelling of the CHC

transmission line). Inclusion of this component of relief, or any other, in Federal Defendants’

proposed final judgment is not a concession that any relief is appropriate in the first instance.

       Dated: January 31, 2022                Respectfully submitted,

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